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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                         CASE NO. 21-60198-CR- DIMITROULEAS




   UNITED STATES OF AMERICA


   v.



   GERALDA ADRIEN,



   _____________
      Defendant.
                 /

                                 FACTUAL BASH~IN SUPR.QR1: OF}~'LEA

          The Office of the United States Attorney for the Southern District of Florida ("the United States") hereby   files this

   factual basis in support of the change of plea of defendant                 Geralda Adrien.    In support thereof, the

   government asserts the following facts:

          PowerfulU Bealthcare Services LLC (PowerfulU), was a limited liability compc:l,Ily

   incorporated under the laws of the State of Florida on or about November 17, 2014, located at

   3601 W Commercial Blvd, Suites 14 and 15, Fort Lauderdale, FL 33309. On its public Facebook

   page, PowerfulU advertised itself as a group of nurses and doctors which wants to empower men

   and women by helping them to become health care providers.

          Docu-Flex & More LLC (Doeu-Flex) was a limited liability company incorporated under

   the laws of the State ofFlorida on or about February 13, 2020, located at 3601 W Commercial

   Blvd, Suites 14 and 15, Fort Lauderdale, FL 33309.

          Nursing School #1 was licensed by the Florida Board of Nursing as a nursing education

   program on or about June 22, 2012. Nursing School #1 's license was terminated on or about
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   May 2, 2017, due to the low passage rate of its graduates.

           Nursing School #2 was a limited liability company incorporated on or about May 22,

   2006, under the laws of the State of Florida, with its primary business address located in Broward

    County, Florida.

           Geralda Adrien, a resident of Broward County, was the President of PowerfulU and

    Manager of Docu-Flex.

           Woosvelt Predestin, a resident of Broward County, was an employee of PowerfulU and

    Docu-Flex.

           TD Bank N.A. was a financial institution based in Canada with offices located throughout

    the United States, including in the State of Florida, whose accounts were insured by the FDIC.

           CEUfast, Inc. based in Lake City, Florida, was accredited as a provider of continuing

    nursing education by the American Nurses Credentialing Center's Commission on Accreditation

    and was accessible via ceufast.com.

           The New York State Education Department was the department of the New York state

    government responsible for the supervision for all public schools in New York and all

    standardized testing, as well as the production and administration of state tests.

           Geralda Adrien, Woosvelt Predestin, and others sold fraudulent diplomas and college

    transcripts obtained from Nursing School #1 and Nursing School #2 to individuals indicating

    that said individuals completed the necessary courses and/or clinicals to obtain nursing degrees

    when the purchasers had never actually completed the necessary courses and/or clinicals.

           Geralda Adrien, Woosvelt Predestin, and others caused the purchasers to transmit

    supporting identification documents by means of wire communication in interstate and foreign

    commerce.


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             Geralda Adrien, Woosvelt Predestin, and others created and caused others to create

      transcripts that the purchasers had taken certain coursework that the purchasers had never

      actually taken.

             Geralda Adrien, Woosve1t Predestin, and others completed required online continuing

      education courses offered by CEUfast, Inc. on behalf of the purchasers and transmitted the

      ensuing certificates of completion to the accreditation agency by means of wire communication

      in interstate and foreign commerce.

             Geralda Adrien, Woosvelt Predestin, and others sent and caused others to send fake

      diplomas and transcripts to purchasers and to third parties including the New York State

      Education Department on behalf of the purchasers while using the mails and interstate carriers.

             Employees of Nursing School #1 and Nursing School #2 back-dated diplomas and

      student transcripts and Geralda Adrien and Woosvelt Predestin instructed purchasers how to use

      the documents to obtain state certification to practice as registered nurses and licensed nurse

      practitioners.

             Geralda Adrien, Woosvelt Predestin, and others used the proceeds of the fraud for their

      personal use and benefit, and to further the fraud.




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            If this case were to go to trial the Government would be able to prove all of the above

    beyond a reasonable doubt. The above-described facts serve only as a summary of the testimony

    were this case to proceed to trial and are not intended to be an exhaustive account of all the

    infonnation available to the Government concerning the offenses charged in the Indictment.



    Date:                                       By:
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                                                          ASS~

    Date:                                       By:
                                                           BRUCE LEHR, ESQ
                                                          ATTORNEY FOR DEFENDANT



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